                                 UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF ALABAMA

IN RE:                                                      Case No. 16-32216-WRS
                                                            Chapter 13
DEBORAH LEWIS
SSAN: XXX-XX-9888




                             Debtor (s)

PURSUANT TO LOCAL RULE 1017-1, THIS CASE MAY BE DISMISSED WITHOUT FURTHER
NOTICE OR HEARING UNLESS A RESPONSE IS FILED BY A PARTY IN INTEREST WITHIN 21
DAYS OF THE DATE OF SERVICE. RESPONSES MUST BE SERVED UPON THE MOVING PARTY
AND, IN THE MANNER DIRECTED BY LOCAL RULE 5005-1, FILED WITH THE CLERK
ELECTRONICALLY OR BY U.S. MAIL ADDRESSED AS FOLLOWS: CLERK, U.S. BANKRUPTCY
COURT, ONE CHURCH STREET, MONTGOMERY, AL 36104.

This pleading is being filed and noticed pursuant to M.D. Ala., LBR 9007-1 procedures for the following:
Dismissal LBR Rule 1017-1

                                     TRUSTEE'S MOTION TO DISMISS
    COMES NOW, Sabrina L. McKinney, Chapter 13 Trustee for this district, and moves the Court to
dismiss the above entitled case pursuant to 11 U.S. C., §1307 (and LBR 1017-1), in that the debtor's
actions have caused unreasonable delay that is prejudicial to creditors. As grounds for said motion, the
Trustee states as follows:

    The debtor filed a petition seeking relief under Chapter 13 of the United States Bankruptcy Code on
    August 16, 2016.

    The debtor has failed to make payments to the Trustee pursuant to the terms of the debtor's
    Chapter 13 plan.

    The debtor's payments to the Trustee are being paid as the following:

    DEBTOR NAME                                           AMOUNT              FREQUENCY            START DATE

    DEBORAH LEWIS                                            83.00            BI-WEEKLY             09/15/2016

    The following is a list of all payments made to the Trustee within the last 180 days:

    $300.00     11/08/2017        8975    $33.00      11/21/2017      6021


   The overall pay record with the Trustee is 66.26% and the debtor's total plan delinquency is $1,092.24.


   WHEREFORE, the above premises considered, the Trustee moves this Honorable Court for an
Order dismissing the debtor's case and for any such other relief to which the Trustee may be entitled.




Case 16-32216        Doc 39       Filed 03/02/18      Entered 03/02/18 16:14:44             Desc     Page 1
                                                     of 2
Respectfully submitted this, 3/2/2018.
                                                               Sabrina L. McKinney
                                                               Chapter 13 Standing Trustee

                                                               /s/ Sabrina L. McKinney
                                                               Sabrina L. McKinney
                                                               Chapter 13 Standing Trustee

Office of the Chapter 13 Trustee
P.O. Box 173
Montgomery, AL 36101-0173
Phone: (334)262-8371
Fax: (334)262-8599
email: 13Trustee@ch13mdal.com

                                         CERTIFICATE OF SERVICE

    I hereby certify that I have served a copy of the foregoing Motion to Dismiss on the debtor's and the
debtor's attorney, by placing them in the United States Mail, postage prepaid, and properly addressed, or
by electronic mail.

    Done, this March 02, 2018.
                                                                /s/ Sabrina L. McKinney
                                                                Sabrina L. McKinney
                                                                Chapter 13 Standing Trustee




Case 16-32216        Doc 39      Filed 03/02/18    Entered 03/02/18 16:14:44             Desc    Page 2
                                                  of 2
